Case 1:24-cv-01017-PKC-JAM           Document 65        Filed 12/20/24      Page 1 of 2 PageID #:
                                            564




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                                              December 20, 2024

VIA ECF
Honorable Joseph A. Marutollo.
United States Magistrate Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

 Re:       Government Employees Ins. Co. et al. v. Vladislav Stoyanovsky et al.
           Docket No.: 1:24-cv-01017-PKC-JAM

Dear Judge Marutollo:

As the Court is aware, we represent Plaintiffs Government Employees Insurance Co., GEICO
Indemnity Co., GEICO General Insurance Company, and GEICO Casualty Co. (collectively
“Plaintiffs” or “GEICO”) in the above-referenced matter. Plaintiffs submit this letter, together with
Defendants Headlam Medical Professional Corporation (“HMPC”), Vladislav Stoyanovsky
(“Stoyanovsky”), Dilsod Islamov (“Islamov”), Dmitriy Khavko (“Khavko”), Kianan Tariverdiev
(“K. Tariverdiev”), and Nazim Tariverdiev (“N. Tariverdiev”)(collectively, the “Appearing
Defendants”)(collectively with the Plaintiffs, the “Parties”) in accordance with the Court’s
November 26, 2024 order.

Plaintiffs and the Appearing Defendants continue to proceed with fact discovery, at present, the
Parties are hopeful and continue to aim to complete fact discovery by the February 24, 2025,
deadline. Plaintiffs received additional third-party bank records last week and expect to receive
additional third-party records in the next two weeks following a meet and confer with counsel.
Plaintiffs recently received discovery responses and documents from Defendants K. Tariverdiev,
N. Tariverdiev, Islamov, and Khavko and are in the process of reviewing them for sufficiency.

In addition, as referenced in the Parties’ November 5, 2024 joint letter requesting an extension of
the fact discovery deadline, Plaintiffs are seeking to depose non-party witness Zhan Petrosyants
(“Petrosyants”). D.E. 57. The second address Plaintiffs located for him was not valid. Plaintiffs’
process server was informed that Petrosyants is not known at that address. Public record searches
to date have also not uncovered any additional addresses for him. As a result, Plaintiffs will be
filing a motion for alternative service for Petrosyants.
Case 1:24-cv-01017-PKC-JAM            Document 65        Filed 12/20/24    Page 2 of 2 PageID #:
                                             565



Lastly, Counsel for Defendants K. Tariverdiev, N. Tariverdiev, and Islamov were informed by
criminal counsel for K. Tariverdiev, N. Tariverdiev, and Islamov that they plan to move for a stay
of this case – potentially jointly with the U.S. Attorneys’ Office - pending their criminal case,
which Plaintiffs will oppose.

We thank the Court for its attention to this matter.

                                                       Respectfully submitted,

                                                       RIVKIN RADLER LLP
                                                       /s/ Michael Vanunu
                                                       Michael Vanunu


cc: All counsel via ECF4903-1175-2712, v. 2



4903-1175-2712, v. 2
